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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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CURTIS BROWN,

                                    Plaintiff,

          -v-                                          5:01-CV-1523

CITY OF SYRACUSE and
JOHN FALGE, Individually;

                         Defendants.
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APPEARANCES:                                           OF COUNSEL:

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DAVID N. HURD
United States District Judge

                           MEMORANDUM-DECISION and ORDER

I. INTRODUCTION

          By letter filed and served on April 29, 2009, (Doc. No. 204), defendants moved,

inter alia, for sanctions against plaintiff and/or his counsel for alleged violation of a
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Confidentiality Order executed by the parties on November 13, 2002, and so ordered by

Magistrate Judge David E. Peebles on June 1, 2004, (Doc. No. 61). Plaintiff opposed by

letter on May 1, 2009. (Doc. No. 206.)

          On May 4, 2009, plaintiff Curtis Brown ("Brown"), attorney A. J. Bosman, and

attorney Norman Deep were ordered to appear on May 11, 2009, at 10:00 a.m. in Utica,

New York, to show cause why each and all of them should not be held in contempt for

violation of the Confidentiality Order and be subject to sanctions up to and including

dismissal of the case with prejudice. (Doc. No. 211.) A hearing was held on May 11, 2009.

Defendants called Brown and Thomas Galvin as witnesses who were subject to cross

examination. All submitted exhibits were admitted for the purposes of the hearing. Decision

was reserved.

II. BACKGROUND

          On November 13, 2002, Brown and defendants City of Syracuse and John Falge

entered into an agreement protecting the content of any document or thing, interrogatory,

answer thereto, request for admission, response thereto or deposition marked "Confidential"

from any disclosure or use without further court order. The agreement was prepared by

plaintiff's former attorney. The agreement also specified that the failure of any party to

challenge a claim of confidentiality would not constitute acquiescence in the event

compliance with the agreement was questioned. On April 7, 2004, plaintiff's current counsel

sent a letter to the Court confirming her and co-counsel's agreement to conform to the terms

of the November 13, 2002, confidentiality agreement. This letter specifically referred to the

confidentiality of City of Syracuse Internal Affairs Department ("IAD") documents. As noted



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above, the November 13, 2002, agreement, along with the April 7, 2004, letter were not so

ordered by Magistrate Judge Peebles until June 1, 2004.

           Paragraph 4 of the Confidentiality Order stated:

           Any document or paper produced by defendants herein shall be utilized
           by the plaintiff solely for purposes of this litigation and for no other
           purposes; provided, however, that this limitation shall not apply to any
           information or document or things which, at or prior to disclosure thereof,
           is or was publicly available, including documents or things which he
           possesses through a third party.

(Confidentiality Order Doc. Nos. 61, 217.) Paragraph 5 provides:

           Inspection of documents and things produced pursuant to this Protective
           Order by defendants shall be conducted only by counsel and his client
           assisting in the preparation of this litigation for trial. Such counsel shall
           treat any information in such documents or things as "Confidential" in
           accordance with the court's directives.

Id. Paragraph 7 precluded the parties from disclosing any items marked "Confidential" as

follows:

           Answers, depositions, documents, and things marked or designated
           "Confidential" in accordance with this stipulation and copies thereof shall
           not be disclosed by the receiving party to any other person, entity or third
           party without further order of the court.

Id.

           A jury trial was scheduled to begin on Tuesday, May 5, 2009. One week prior to

the scheduled trial date Brown sent to the news media via electronic mail a single-spaced,

two-page letter making accusations of "heinous crimes . . . by some Syracuse Police Officers

. . . includ[ing] but [] not limited to, rape, and sodomy, sexual abuse to motorists, domestic

violence, and pedophilia." (Doc. No. 208.) The letter stated that details supporting these

allegations were contained in confidential IAD documents. The letter further stated that he

obtained the IAD documents pursuant to an Order of this Court. His letter referenced the

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May 5 trial date, indicating that the trial was scheduled for an "entire week, due to the vast

amount of evidence brought against" defendants. Id. Plaintiff concluded his letter stating:

"The public needs to hear of these atrocities and weed out these sexual predators before

more innocent women are victimized."

          As noted above, the Order to Show Cause was issued on May 4, 2009. The trial

scheduled for May 5, 2009, and all other open motions were adjourned without date pending

resolution of the contempt matter.

III. STANDARD

          A court is authorized to impose sanctions for failure to obey a scheduling or other

pretrial order. Fed. R. Civ. P. 16(f). Sanctions for not obeying a discovery order can include,

inter alia, dismissing the action, rendering a default judgment, or holding the disobedient

party in contempt. Fed. R. Civ. P. 37(b)(2)(A)(ii-vii). "A party may not be held in contempt

unless 'the order violated by the contemnor is "clear and unambiguous," the proof of non-

compliance is "clear and convincing," and the contemnor was not reasonably diligent in

attempting to comply.'" EEOC v. Local 638, 81 F.3d 1162, 1171 (2d Cir. 1996) (quoting

United States v. Local 1804-1, Int'l Longshoremen's Ass'n, 44 F.3d 1091, 1096 (2d Cir.

1996)). It is not necessary that the violation of the order be willful in order to make a finding

of contempt. Id. Moreover, a sanction for contempt should not be imposed "'where there is a

fair ground of doubt as to the wrongfulness of the [party's] contempt.'" A.V. by Versace, Inc.

v. Gianni Versace, S.p.A., 87 F. Supp. 2d 281, 288 (S.D.N.Y. 2000) (quoting California

Artificial Stone Paving Co. v. Molitor, 113 U.S. 609, 618, 5 S. Ct. 618, 622 (1885)).




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IV. DISCUSSION

          The Confidentiality Order expressly did "not apply to any information or document

or things which, at or prior to disclosure thereof, is or was publicly available, including

documents or things which he possesses through a third party." (Doc. No. 61, 217 ¶ 4.)

          Brown submitted newspaper articles that contained allegations of the following

investigations of police misconduct: domestic assault, rape, providing alcohol to a 14-year-

old boy, public lewdness, hitting a pedestrian with his car while driving intoxicated, fondling a

woman when responding to a domestic abuse call, peeping in the window at women, beating

a 12-year-old girl with a nightstick, and sexual abuse after vehicle stop. According to plaintiff

these articles demonstrate that the information he included in his letter to the media was

already publicly available and therefore not subject to the Confidentiality Order. Three of

these articles related to charges brought, or a conviction entered against police officers

(domestic assault, alcohol to 14-year old, and public lewdness). The remaining articles all

pertain to this lawsuit and contain his allegations against officers to demonstrate that he was

treated differently because of his race, rather than information obtained through news-

gathering. Defendants contend that Brown releasing that information was in violation of the

Confidentiality Order, so that he should not now profit from it.

          In any event, the above-quoted language from the Confidentiality Order is at best

sloppily written and could be read to exclude from the protection against disclosure any

information available to the public regardless of the manner in which it became public.

Moreover, the Confidentiality Order also provides that counsel treat information produced in

discovery as confidential "in accordance with the court's directives." According to Brown, the

court directed only that identities revealed in IAD files be kept confidential, thus permitting

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disclosure of the substantive allegations. This is another example of how the Confidentiality

Order could have been better written by defendants' counsel.1 Additionally, the

Confidentiality Order provided that documents and specified information provided in

discovery and marked "Confidential" by a party must not be disclosed. However, defendants'

counsel never marked anything "Confidential." Again, this reflects the sloppy approach taken

by defendants' counsel toward keeping confidential information protected from disclosure.

Finally, defendants' counsel did not have the confidentiality stipulation so ordered until June

1, 2004, 1-1/2 years after it was originally executed by the parties.2

           In sum, the Confidentiality Order allegedly violated by Brown and his counsel falls

far short of being clear and unambiguous. Similarly, defendants' evidence of non-

compliance falls far short of being clear and convincing, especially in light of the ambiguity

presented by the Confidentiality Order. Accordingly, defendants have failed to establish that

Brown and his counsel should be held in contempt and sanctioned for that contempt.

           That having been said, Brown and his counsel are not without blame. There is

absolutely no question that the contents of IAD files are confidential and were meant to be

protected from disclosure by the Confidentiality Order. Plaintiff's current counsel

acknowledged this in her letter agreeing to abide by the Confidentiality Order. Moreover, the

information is protected from disclosure by New York State law. See N.Y. Civ. Rights Law §

50-a, N.Y. Pub. Off. Law § 96.




          1
             It is incredible that on this im portant issue the defendants' counsel allowed the plaintiff's form er
  counsel to prepare the Confidentiality Order and Stipulation and accepted it without change.

          2
             It m ust be noted that attorney John G. Powers and the Hancock office did not becom e of counsel
  to the defendants until April 8, 2009. (Doc. No. 172.)

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            Throughout the course of this litigation, Brown has contacted the media and

provided them with salacious information, in some cases from confidential internal affairs

department files. His latest contact, on the eve of trial, even stated that the information came

from IAD files, as well as that he obtained the files by order of this Court. He has made

unsupported accusations of serious criminal conduct by other police officers. His initial

attorney withdrew from the representation because of plaintiff's unrelenting contact with the

media, and the attorney's concern that the contact would continue despite instruction to the

contrary.

            His present attorneys, A. J. Bosman and Norman Deep, must have been aware of

Brown's propensity for media contact because he was admonished about it several times,

including with regard to the withdrawal of prior counsel. However, they took no extra

precautions to prevent plaintiff from releasing the confidential content of IAD files to the

media on the eve of trial. In fact, their argument on this motion that it was perfectly all right to

release any and all information contained in the IAD files so long as the officers' identities

were not disclosed indicates acquiescence, if not condonation, of the release of obviously

confidential information.

            Plaintiff's attorneys' argument that his prior disclosure of confidential information

excuses the most recent disclosure is untenable. A previous violation of the Confidentiality

Order cannot absolve him from responsibility for later violations even though the

Confidentiality Order exempts "publicly available" information, and any such argument fails.

            Further, information obtained through discovery in this litigation has been used by

the plaintiff's attorneys in support of other cases against the City of Syracuse in which



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plaintiffs are alleging civil rights violations. In view of the spirit of the Confidentiality Order,

this is clearly an improper use of such discovery disclosures.

V. CONCLUSION

          Although it is clear that Brown violated the spirit of the Confidentiality Order

(regardless of his counsels' protestations to the contrary), it is not clear that he violated

actual (ambiguous) terms of the Confidentiality Order. Despite the egregiousness of

plaintiff's contact with the media on the eve of trial, because of their own counsels' failures

defendants are not entitled to sanctions such as contempt against him and his counsel.

Finally, now that they are on notice, Brown and his attorneys are warned that any further

conduct of a similar nature will subject them to the full sanctioning power of this Court.

          Accordingly, it is

          ORDERED that defendants' motion for sanctions is DENIED.

          IT IS SO ORDERED.




Dated: June 10, 2009
       Utica, New York.




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